                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:04 CV 234


BURTON A. GELLMAN and                          )
THE GELLMAN CORP.,                             )
                     Plaintiffs,               )
                                               )                 ORDER
       v.                                      )
                                               )
THE CINCINNATI INSURANCE CO.,                  )
                     Defendant.                )
                                               )


        THIS MATTER is before the court on its own motion. IT IS ORDERED that the time for
Defendant to answer or otherwise respond to Plaintiff’s Motion to Compel is hereby extended to
and including November 27, 2006.

       IT IS SO ORDERED.
                                              Signed: November 20, 2006




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